      Case 2:13-cr-02092-LRS           ECF No. 2107        filed 05/27/16      PageID.8915 Page 1 of 2
PROB 12C                                                                                Report Date: May 27, 2016
(7/93)
                                                                                                    FILED IN THE
                                       United States District Court                             U.S. DISTRICT COURT
                                                                                          EASTERN DISTRICT OF WASHINGTON


                                                      for the                              May 27, 2016
                                                                                               SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Paul Reyes                               Case Number: 0980 2:13CR02092-LRS-32
 Address of Offender: 107 North 6th Street, Yakima, Washington 98901
 Name of Sentencing Judicial Officer: The Honorable Lonny R. Suko, Senior U.S. District Judge
 Date of Original Sentence: May 29, 2014
 Original Offense:        Theft from Gaming Establishment in Excess of $1,000, 18 U.S.C. § 1167(b)
 Original Sentence:       Prison 4 months; TSR - 36         Type of Supervision: Supervised Release
                          months
 Asst. U.S. Attorney:     Thomas J. Hanlon                  Date Supervision Commenced: March 3, 2016
 Defense Attorney:        Alex B. Hernandez, III            Date Supervision Expires: September 21, 2017


                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes the offender has violated the following conditions of supervision:


Violation Number        Nature of Noncompliance

           1            Standard Condition # 6: The defendant shall notify the probation officer at least ten days
                        prior to any change in residence or employment.

                        Supporting Evidence: This officer attempted to contact Paul Reyes on May 11, 2016, at the
                        Union Gospel Mission without success. Staff at the Union Gospel Mission advised the last
                        time the offender signed in was on May 3, 2016. This officer then attempted to contact the
                        Mr. Reyes at his mother and sister’s residence, and the offender’s family indicated he was
                        by the home a couple days ago and he seemed to be doing okay. This officer’s business card
                        was left with his family, requesting Mr. Reyes to contact the undersigned.

                        On May 25, 2016, this officer attempted to locate the offender at his mother and sister’s
                        home. His mother indicated she spoke with him the previous day but advised he is not living
                        at the home, and she is unaware of where he might be residing. She said he told her he
                        would be contacting this officer and he needed to go back to inpatient treatment. This same
                        day this officer attempted to contact Mr. Reyes at the Union Gospel Mission but staff
                        indicated they have not seen the offender and he has not signed the admission form.

                        The offender’s whereabouts are currently unknown.
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          2           Special Condition # 19: You shall abstain from the use of illegal controlled substances, and
                      shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                      supervising officer, but no more than six tests per month, in order to confirm continued
                      abstinence from these substances.

                      Supporting Evidence: Mr. Reyes failed to submit to urinalysis testing at Merit Resource
                      Services on May 10, and 18, 2016.
          3           Special Condition # 17: You shall complete a mental health evaluation and follow any
                      treatment recommendations of the evaluating professional which do not require forced or
                      psychotropic medication and/or inpatient confinement absent further order of the Court.
                      You shall allow reciprocal release of information between the supervising officer.

                      Supporting Evidence: Mr. Reyes failed to attend his mental health appointments with his
                      counselor on May 3, and 10, 2016. His counselor advised the offender has not rescheduled
                      his weekly appointments.

                      The offender’s counselor has not seen him since April 2016. She spoke with him on May
                      3, 2016, when he told her he needed to miss his appointment but would attend his
                      appointment the following week. As previously indicated, he missed that appointment and
                      has not contacted her since that time.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.
                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     May 27, 2016
                                                                            s/Stephen Krous
                                                                            Stephen Krous
                                                                            U.S. Probation Officer



 THE COURT ORDERS
 [ ] No Action
 [ X] The Issuance of a Warrant
 [ ] The Issuance of a Summons
 [ ] Other
                                                                            Signature of Judicial Officer
                                                                             5/27/2016

                                                                            Date
